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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                 CASE NO. 11-20587-CR-SCOLA

  UNITED STATES OF AMERICA

  v.

  JACQUELINE MORAN, et al.,
         Defendants.
  _____________________________/
                          ORDER DENYING MOTION TO SUPPRESS
         THIS MATTER is before the Court upon the Motion to Suppress [ECF No. 324], filed by
  Defendant Jacqueline Moran. The Court has carefully reviewed the Motion, the Government’s
  Response, as well as argument during the hearing held March 20, 2012.
         The facts are not in dispute; the Defendant and the Government agree as to the relevant
  sequence of events. Essentially, the present Motion concerns the admissibility of Defendant’s
  statement, made upon her arrest and while she was riding in the backseat of a patrol car en route
  to the FBI booking station.      Defendant was not questioned during the ride, but made an
  unsolicited statement to the effect that she had never billed patients who were not present at the
  clinic for therapy sessions. Upon arriving at the booking station, Defendant was given her
  Miranda rights and, thereafter, she signed a waiver and expressed a desire to speak with the
  agents. Defendant then made several statements to the FBI, including repeating the statement
  she made during the car ride to the station. Defendant now seeks to suppress both statements –
  the first as having been the product of interrogation, or its functional equivalent, prior to the
  giving of Miranda rights; and the second as being “poisonous fruit” of the first illicit statement.
         Generally speaking, any evidence obtained by unconstitutional means is not admissible at
  trial. See Mapp v. Ohio, 367 U.S. 643, 655 (1961). Suppression applies to both the
  unconstitutionally obtained statement and any incriminating evidence that was derived from that
  primary statement – that is, the “fruit of the poisonous tree.” See United States v. Terzado-
  Madruga, 897 F.2d 1099, 1112-13 (11th Cir. 1990). Law enforcement officers must issue
  Miranda warnings when a subject is both in custody and under interrogation. See United States
  v. Castro, 723 F.2d 1527, 1530 (11th Cir. 1984). “The term ‘interrogation’ refers to express
  questioning or its functional equivalent – ‘any words or actions on the part of the police (other
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  than those normally attendant to arrest and custody) that the police should know are reasonably
  likely to elicit an incriminating response from the suspect.’” United States v. Lightbourn, 357 F.
  App’x 259, 265 (11th Cir 2009) (quoting Rhode Island v. Innis, 446 U.S. 291, 309 n.5 (1980)).
  “The Supreme Court [has] recognized that not all statements obtained by the police after a
  person has been taken into custody are to be considered the product of interrogation.”
  See Lightbourn, 357 F. App’x at 265 (citations omitted). Indeed, “[a]ny statement given freely
  and voluntarily is admissible in evidence.” See id. Likewise, “statements that are voluntary and
  unresponsive to the questions posed are not protected by Miranda.” See id.
          Here, the Court finds that Defendant’s statements should not be suppressed. What
  occurred in the car on the way to the booking station does not constitute interrogation or its
  functional equivalent.         See Rhode Island v. Innis, 466 U.S. 291, 300-01 (1980).     Instead,
  Defendant made what was essentially a spontaneous, unsolicited statement. The Government
  agents had no obligation to read Defendant her Miranda rights upon arrest, prior to her booking
  at the station, nor did they have an obligation to squelch her unsolicited speech in the patrol car.
  See Sullivan v. Alabama, 666 F.2d 478, 482 (11th Cir. 1982) (Miranda does not apply “where
  the statements are unsolicited, spontaneous and freely made prior to any attempted
  interrogation”). Because there is no basis to suppress that initial statement, it follows that there
  is also no cause to suppress Defendant’s later statement, which she made after waiving her
  Miranda rights. The later statement cannot be “poisonous fruit” if the tree from which it fell was
  not itself poisonous. See Lightbourn, 357 F. App’x at 265 (because initial search was lawful,
  “the ‘fruit of the poisonous tree’ doctrine does not apply to [defendant’s] subsequent
  incriminating statements”); see also United States v. Echevarria, 238 F. App’x 424, 426 (11th
  Cir. 2007) (same). The Court further finds that the Defendant freely, knowingly, and voluntarily
  waived her Miranda rights and that her post-arrest statements were freely and voluntarily made.

          Accordingly, it is hereby ORDERED and ADJUDGED that the Motion is DENIED.

          DONE AND ORDERED in chambers at Miami, Florida on March 21, 2012.



                                                  ____________________________________
                                                  ROBERT N. SCOLA, JR.
                                                  UNITED STATES DISTRICT JUDGE
  Copies to: Counsel of Record
